Case 9:19-cv-81179-RAR Document 110 Entered on FLSD Docket 07/29/2024 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT=--===-~"",~-=..,~ _
                        FOR THE SOUTHERN DISTRICT OF FLORI I KILEO BY                      ~5--·--·----
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   ILLOOMINATE MEDIA, INC ET AL                                                                               l
                                                                                    JUL 29 2024
                         Plaintiffs                                                ANGELA E. NOBLE
                                                                                  ft~~~ U.S. DIST. CT.
                                                                                   ·---   ' FL.__A. - WP.B.
                 V.
                                                     Case Number:      9:19-cv-81179
   CAIR FLORIDA, INC., et al

                         Defendants.


    PLAINTIFF LAURA LOOMER'S RESPONSE IN OPPOSITION TO MOTION TO
   COMPEL COMPLIANCE WITH ECF NO. 105-1/106 AND/OR FOR CONTEMPT AND
       MOTION FOR EXTENSION OF TIME FOR CORPORATE PLAINTIFF
               ILLOOMINATE MEDIA, INC TO FILE A RESPONSE

          Plaintiff Laura Loomer hereby submits the following in response to Defendants CAIR

   Florida, Inc. and CAIR Foundation's Motion to Compel Compliance With ECF No. 105-1/106

   and/or for Contempt. ECF No. 107 ("Motion to Compel").

          The Defendants' Motion to Compel stems from the fact that Plaintiffs have objected to

   counsel for Defendants' communicating with and attempting to "settle" a case that they are not

   involved in-the separate ongoing legal malpractice case that Plaintiffs have filed against their

   former counsel in this case. Loomer v. Coleman et al, 50-2023-CA-010810-XXXX-MB (15 th

   Jud. Cir. Fla.) (the "Malpractice Case"). Notably, the Defendants here are not parties to, nor do

   they have any involvement -in the Malpractice Case, yet they have attempted to "settle" away

   Plaintiffs' substantive rights with a Defendant in the Malpractice Case, Defendant Craig Young.

   This is highly unethical, illegal behavior that should be referred to The Florida Bar. The

   Defendants did this in secret, without any notice to the Plaintiffs until after a purported

   "settlement" had been reached with Mr. Young.

          Defendants attempt to argue that the language of the settlement agreement between the
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          parties in this case grants them authority to act in this unprecedented, illegal, and unethical

          fashion, but a review of the language at issue shows that this is simply untrue:

                 Veto Power and Settlement Authority. CAIR shall have final sign off power on;
                 veto power over, and substantive control of Plaintiffs' authority to settle Coleman,
                 including through any offer of judgment. Plaintiffs may not settle Coleman
                 without CAIR's written consent, and failure to obtain such consent is a
                 substantive breach of this Settlement.

          Nowhere in this provision are Defendants' granted authorization to secretly settle away

          Plaintiffs' substantive rights with the Defendants in the Malpractice Case. The plain language of

          this provision shows that Defendants have veto power and final say over whether to accept a

          settlement that has been worked out between Plaintiffs and the Defendants in the Malpractice

          Case. The practical effect of this provision - which is what both parties bargained for - is that

          both Plaintiffs and Defendants in this case must agree to any settlement in the Malpractice Case.

          It does not give the Defendants the right to accept a settlement in the Malpractice Case affecting

          Plaintiffs' rights that Plaintiffs would never have accepted.

                 Accordingly, Defendants CAIR Foundation and CAIR Florida - unindicted co-

          conspirators in a criminal prosecution of the Holy Land Foundation in Dallas, Texas for

          allegedly funneling millions of dollars to the terrorist organization Hamas - Motion to Compel

          must be denied as they have far exceeded any authority. provided through the Settlement

          Agreement. This unethical and illegal conduct cannot be allowed to occur and counsel for

          Defendants must be referred to The Florida Bar for their actions here.

                 Lastly, Plaintiffs respectfully request a two-week extension of time, until and including

          August 12, 2024 for Plaintiff tlloominate Media, Inc. to file a response to Defendants' Motion to

          Compel, as Ms. Loomer is.unable to represent a corporate party prose. This extension of time

          will allow Ms. Loomer to retain counsel and prepare a response, as Plaintiffs' current counsel in




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   unable to practice in this Court at this time.

   Dated: July 29, 2024                                   Respectfully Submitted,


                                                           Isl Laura Loomer
                                                           Laura Loomer
                                                           2046 Treasure Coast Plaza
                                                           Suite A #138
                                                           Vero Beach, FL 32960

                                                           Pro Se



                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 29th day of July, 2024, the foregoing was served on

   counsel for Defendants via U.S. mail at:

   J. Remy Green
   1639 Centre St., Ste. 216, Ridgewood NY 11385


                                                                    Isl Laura Loomer




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